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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION



JOHN EDWARD PARKER,

      Plaintiff,

vs.                                                  CASE NO. 1:09CV29-SPM/AK

MICHAEL SINGLETARY,

      Defendant.

                                  /


                                       ORDER

      Presently before the Court is Defendant’s Motion for Enlargement of Time (doc.

39) wherein Defendant seeks an extension through November 17, 2009, to respond to

the second amended complaint. Having considered said motion, the Court is of the

opinion that it should be GRANTED.

      DONE AND ORDERED this           3rd day of November, 2009.




                                         s/ A. KORNBLUM
                                         ALLAN KORNBLUM
                                         UNITED STATES MAGISTRATE JUDGE
